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  EXHIBIT 9
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                                                                                                                                                                          SIGNATURE REQUIRED



                                                                                                                                                                                                  BETHESDA MD 20814-4835
                                                                                                                                                                                                  7201 WISCONSIN AVE STE 450
                                                                                                                                                                                                  HERISCHI & ASSOCIATES LLC
                                                                                                                                                                                                  ALI HERISCHI
                                                                                                                                                                  SHIP
                                                                                                                               TO: THE ISLAMIC REPUBLIC OF IRAN
   Electronic Rate Approved #038555749




                                                                                                                                   1250 23RD ST NW
                                                                                                                                   C/O THE INTERESTS SECTION
                                                                                                          WASHINGTON DC 20037-1164
                                                                            USPS SIGNATURE TRACKING #




                                                                                                                                                                                                                                                         PRIORITY MAIL 1-DAY™
                                             9410 8036 9930 0126 7764 30




                                                                                                                                                                                                                                                                                  09/25/2020




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                                                                                                                                                                                                                                                                                                                      US POSTAGE
                                                                                                                                                                                                                                                                                                                      $10.40
                                                                                                                                                                                                                                                                                                      Confirmation
                                                                                                                                                                                                                                                                                                      Signature
                                                                                                                                                                                                                                                                                                      Flat Rate Env


                                                                                                                                                                                                                                                                                                                               9410 8036 9930 0126 7764 30 0104 0000 0012 0037

                                                                                                                                                                                                                                                                                                                                                                                 Click-N-Ship®
                                                                                                                                                                                                                                                                                  Mailed from 20814
                                                                                                                                                                                                                      Expected Delivery Date: 09/26/20
                                                                                                                                                                                C042




                                                                                                                                                                                                                                                                                  062S0000000314
                                                                                                                                                                                                     0024

                                                                                                        Cut on dotted line.


 Instructions                                                                                                                                                                                  Click-N-Ship® Label Record
1. Each Click-N-Ship® label is unique. Labels are to be                                                                                                                                                    Signature Confirmation™ :
   used as printed and used only once. DO NOT PHOTO
   COPY OR ALTER LABEL.                                                                                                                                                                           9410 8036 9930 0126 7764 30
                                                                                                                                                                                                                                                                                Priority Mail® Postage: $7.75
                                                                                                                                                                          Trans. #:                       507027749
2. Place your label so it does not wrap around the edge of                                                                                                                Print Date:                     09/25/2020                                                            Signature Confirmation: $2.65
   the package.                                                                                                                                                           Ship Date:                      09/25/2020                                                            (Electronic Rate)
                                                                                                                                                                          Expected                                                                                              Total:
                                                                                                                                                                          Delivery Date:                  09/26/2020                                                                                    $10.40
3. Adhere your label to the package. A self-adhesive label
   is recommended. If tape or glue is used, DO NOT TAPE
   OVER BARCODE. Be sure all edges are secure.                                                                                                                            From:                  ALI HERISCHI
                                                                                                                                                                                                 HERISCHI & ASSOCIATES LLC
4. To mail your package with PC Postage®, you                                                                                                                                                    7201 WISCONSIN AVE STE 450
   may schedule a Package Pickup online, hand to                                                                                                                                                 BETHESDA MD 20814-4835
   your letter carrier, take to a Post Office™, or
   drop in a USPS collection box.
                                                                                                                                                                                        To:      THE ISLAMIC REPUBLIC OF IRAN
5. Mail your package on the "Ship Date" you                                                                                                                                                      C/O THE INTERESTS SECTION
   selected when creating this label.                                                                                                                                                            1250 23RD ST NW
                                                                                                                                                                                                 WASHINGTON DC 20037-1164



                                                                                                                                                                         * Retail Pricing Priority Mail rates apply. There is no fee for USPS Tracking® service
                                                                                                                                                                         on Priority Mail service with use of this electronic rate shipping label. Refunds for
                                                                                                                                                                         unused postage paid labels can be requested online 30 days from the print date.




                                                                           Thank you for shipping with the United States Postal Service!
                                         Check the status of your shipment on the USPS Tracking® page at usps.com
                                            Case 1:19-cv-03599-GMH Document 19-11 Filed 08/17/21 Page 5 of 6




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                                                                                                                                                                        SIGNATURE REQUIRED



                                                                                                                                                                                                BETHESDA MD 20814-4835
                                                                                                                                                                                                7201 WISCONSIN AVE STE 450
                                                                                                                                                                                                HERISCHI & ASSOCIATES LLC
                                                                                                                                                                                                ALI HERISCHI
                                                                                                                             SHIP THE ISLAMIC REPUBLIC OF IRAN
                                                                                                                              TO: C/O HONORABLE MAJID TAKHT-RAVANCHI
   Electronic Rate Approved #038555749




                                                                                                                                  FL 34
                                                                                                                                  622 3RD AVE
                                                                                                          NEW YORK NY 10017-6936
                                                                            USPS SIGNATURE TRACKING #




                                                                                                                                                                                                                                                       PRIORITY MAIL 2-DAY™
                                             9410 8036 9930 0126 7764 47




                                                                                                                                                                                                                                                                                09/25/2020




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                                                                                                                                                                                                                                                                                                                    US POSTAGE
                                                                                                                                                                                                                                                                                                                    $10.40
                                                                                                                                                                                                                                                                                                    Confirmation
                                                                                                                                                                                                                                                                                                    Signature
                                                                                                                                                                                                                                                                                                    Flat Rate Env


                                                                                                                                                                                                                                                                                                                             9410 8036 9930 0126 7764 47 0104 0000 0031 0017

                                                                                                                                                                                                                                                                                                                                                                               Click-N-Ship®
                                                                                                                                                                                                                                                                                Mailed from 20814
                                                                                                                                                                                                                    Expected Delivery Date: 09/28/20
                                                                                                                                                                              C059




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                                                                                                                                                                                                   0006

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 Instructions                                                                                                                                                                                Click-N-Ship® Label Record
1. Each Click-N-Ship® label is unique. Labels are to be                                                                                                                                                  Signature Confirmation™ :
   used as printed and used only once. DO NOT PHOTO
   COPY OR ALTER LABEL.                                                                                                                                                                         9410 8036 9930 0126 7764 47
                                                                                                                                                                                                                                                                              Priority Mail® Postage: $7.75
                                                                                                                                                                        Trans. #:                       507027749
2. Place your label so it does not wrap around the edge of                                                                                                              Print Date:                     09/25/2020                                                            Signature Confirmation: $2.65
   the package.                                                                                                                                                         Ship Date:                      09/25/2020                                                            (Electronic Rate)
                                                                                                                                                                        Expected                                                                                              Total:
                                                                                                                                                                        Delivery Date:                  09/28/2020                                                                                    $10.40
3. Adhere your label to the package. A self-adhesive label
   is recommended. If tape or glue is used, DO NOT TAPE
   OVER BARCODE. Be sure all edges are secure.                                                                                                                          From:                  ALI HERISCHI
                                                                                                                                                                                               HERISCHI & ASSOCIATES LLC
4. To mail your package with PC Postage®, you                                                                                                                                                  7201 WISCONSIN AVE STE 450
   may schedule a Package Pickup online, hand to                                                                                                                                               BETHESDA MD 20814-4835
   your letter carrier, take to a Post Office™, or
   drop in a USPS collection box.
                                                                                                                                                                                      To:      THE ISLAMIC REPUBLIC OF IRAN
5. Mail your package on the "Ship Date" you                                                                                                                                                    C/O HONORABLE MAJID TAKHT-RAVANCHI
   selected when creating this label.                                                                                                                                                          622 3RD AVE
                                                                                                                                                                                               FL 34
                                                                                                                                                                                               NEW YORK NY 10017-6936


                                                                                                                                                                       * Retail Pricing Priority Mail rates apply. There is no fee for USPS Tracking® service
                                                                                                                                                                       on Priority Mail service with use of this electronic rate shipping label. Refunds for
                                                                                                                                                                       unused postage paid labels can be requested online 30 days from the print date.




                                                                           Thank you for shipping with the United States Postal Service!
                                         Check the status of your shipment on the USPS Tracking® page at usps.com
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                                                                                                           Shipment Confirmation
                                                                                                               Acceptance Notice
A. Mailer Action
Note To Mailer: The labels and volume associated to this form                                             09/25/20
                                                                                           Shipment Date:_______________________________
online, must match the labeled packages being presented to the
USPS® employee with this form.                                                             Shipped From:

                                                                                             ALI HERISCHI
                                                                                             HERISCHI & ASSOCIATES LLC
                                                                                             7201 WISCONSIN AVE STE 450
                                                                                             BETHESDA MD 20814-4835




                                       Type of Mail                                                        Volume

             Priority Mail®                                                            2

             Priority Mail Express™*                                                   0

             International Mail*                                                       0

             First-Class Package Service - Retail™                                     0


             Other                                                                     0

                                                               Total Volume            2

 *Start time for products with service guarantees will begin when mail arrives at the local Post Office™
                     and items receive individual processing and acceptance scans.


  B. USPS Action
    USPS EMPLOYEE: Please scan upon pickup or receipt of mail. Leave form with customer or in customer's mail receptacle.
    Employee verifies the package volume count on the Package Pickup Carrier Manifest.
      - If the volume on the manifest matches the volume being collected from the customer, the employee should make the 1:YES selection
      by pressing the number 1 on the keypad of the handheld scanner, or on the keyboard of the POS ONE terminal.
      - If the volume on the manifest does not match the volume being collected from the customer, the employee should make the 2:NO
      selection. The mail should still be collected and dispatched as normal.




                                                                     USPS SCAN




                                                          9475 7036 9930 0372 7914 23




PS Form 5630, PSN 7530-08-000-4335, July 5, 2006
